Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 1 of 13 PageID #:35408




                             UNITED STATES DISTRICT COURT

                      FOR THE NORTHERN DISTRICT OF ILLINOIS


 IN RE BROILER CHICKEN ANTITRUST
 LITIGATION                                            No. 1:16-cv-08637
                                                       Honorable Thomas M. Durkin
 THIS DOCUMENT RELATES TO ALL
 ACTIONS



          DIRECT ACTION PLAINTIFFS’ RESPONSE AND OBJECTIONS TO
              DEFENDANTS’ RULE 30(b)(6) NOTICE OF DEPOSITION

        Pursuant to 30(b)(6) of the Federal Rules of Civil Procedure and the Court’s Order
Regarding 30(b)(6) Deposition Notice Exchange (Dkt. No. 1375), Action Meat Distributors, Inc.
Affiliated Foods, Inc., Alex Lee, Inc./Merchants Distributors, LLC Associated Food Stores, Inc.,
Associated Grocers of New England, Inc., Bashas’ Inc., Big Y Foods, Inc., Certco, Inc., Fareway
Stores, Inc., Howard Samuels as Trustee in Bankruptcy for Central Grocers, Inc., CBBC OPCO,
LLC, d/b/a Colorado Boxed Beef and King Solomon Foods, Inc., Ira Higdon Grocery Company,
Inc., Nicholas & Co., Inc., Pacific Agri-Products, Inc., Pacific Food Distributors, Inc., Piggy
Wiggly Alabama Distributing Co., Inc., Troyer Foods, Inc., URM Stores, Inc., W. Lee Flowers &
Co., Inc., Weinstein Wholesale Meats, Inc., Woodman’s Food Market, Inc. (the “Plaintiffs”), by
and through their counsel, respond to Defendants’ 30(b)(6) Notice of Deposition to Direct Action
Plaintiffs, dated November 15, 2018 (“Notice”), as follows:

                           GENERAL OBJECTIONS TO
                   DEFENDANTS’ DEFINITIONS AND INSTRUCTIONS

        1.     Plaintiffs object to the Notice to the extent it seeks information that is not relevant
to any claim or defense in this case and/or not proportional to the needs of the case.

        2.      Plaintiffs object to the Notice to the extent it seeks testimony regarding confidential,
trade secret, or proprietary business information.

       3.      Plaintiffs object to the Notice to the extent it seeks information that requires expert
testimony or legal interpretation.

       4.     Plaintiffs object to the Notice to the extent it seeks information protected from
discovery based on the attorney-client privilege, the work product doctrine, or any other privilege
or immunity (hereinafter, “Privilege”).

       5.      Many of the topics in the Notice assume knowledge or conduct by Plaintiffs that is
not necessarily well founded. In responding to each topic, Plaintiffs do not intend to imply,

                                                   1
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 2 of 13 PageID #:35409




acknowledge, or concede that the conduct or knowledge assumed by a particular topic actually
occurred or was known by Plaintiffs.

         6.     Plaintiffs object to the Notice to the extent it seeks information related to Plaintiffs’
own sales, prices or profits – often referred to as “downstream” discovery – because such discovery
is irrelevant and its production is contrary to the principles established by the Supreme Court in
Hanover Shoe v. United Shoe Machinery Corp., 392 U.S. 481 (1968) and Illinois Brick Co. v.
Illinois, 431 U.S. 720 (1977). Under these controlling cases, a direct purchaser – such as the
Plaintiffs here – is entitled to recover the “full amount” of an overcharge, and inquiry into the
“downstream” effects of the overcharge – including, for example, inquiry into the direct
purchaser’s own prices, sales, and profits – is irrelevant as matter of law. Following these
fundamental principles, numerous courts, including the Court in this case, have rejected attempts
by antitrust defendants to take “downstream” discovery from direct purchasers. See, e.g., In re
Broiler Chicken Antirust Litig., 1:16-cv-08637, (N.D. Ill. Feb. 21, 2018), ECF No. 749 at 5
(denying motion to compel downstream discovery issued to plaintiffs); In re K-Dur Antitrust
Litig., 686 F.3d 197, 221 (3d Cir. 2012) (plaintiffs’ sales and profits not discoverable on adequacy
of representation, damages and indirect purchaser issues); In re Niaspan Antitrust Litig., No. 13-
md-02460, 2015 LEXIS 92534, at *1-2 (E.D. Pa. Jul. 9, 2015) (joining other courts in finding
downstream discovery irrelevant in both the direct purchaser and indirect purchaser cases); In re
Polyurethane Foam Antitrust Litig., No. 10-md-02196, 2014 WL 764617, at *3-4 & 2012 WL
5970908 (N.D. Ohio Feb. 26, 2014) (upholding prior ruling barring downstream discovery because
“the focus of this case is the manufacturing of foam, not the downstream use or resale of foam
products”); In re Optical Disk Drive Prods. Antitrust Litig., No. 10-md-02143, Docket No. 943
(N.D. Cal. Jul. 19, 2013) (motion for protective order granted where whatever minimal relevance
of downstream discovery was substantially outweighed by burden on direct purchasers); In re Pool
Prods. Distrib. Mkt. Antitrust Litig., No. 12-md-02328, Docket No. 174 at 13-23 (E.D. La. Nov.
6, 2012) (“[L]ower courts have, for the most part, found downstream information to be non-
discoverable, whether for market definition, class certification, damages, or indirect purchaser
issues.”); In re Air Cargo Shipping Servs. Antitrust Litig., No. 06-md-01775, 2010 WL 4916723,
at *4 (E.D.N.Y. Nov. 4, 2010) (rejecting effort to obtain discovery of plaintiffs’ pricing and
methods of determining downstream pricing and recognizing the myriad of cases that have denied
downstream discovery); In re Flat Glass Antitrust Litig. (II), No. 08-mc-00180, Docket No. 238
(W.D. Pa. Jan. 6, 2010) (motion to compel denied where downstream information was not relevant
or necessary to determine class certification); PLAINTIFFS Inc. v. Abbott Labs, 251 F.R.D. 431,
433-34 (N.D. Cal. 2008) (denying motion to compel documents in response to requests seeking
downstream sales information); In re Aspartame Antitrust Litig., No. 06-cv-01732, 2008 WL
2275528, at *4-6 (E.D. Pa. Apr. 8, 2008) (downstream information not discoverable on class
certification and indirect purchaser issues); In re Auto. Refinishing Paint Antitrust Litig., MDL No.
1426, 2006 WL 1479819, at *7-8 (E.D. Pa. May 26, 2006) (precluding downstream discovery
relating to market conditions, nature of industry and damages); In re Pressure-Sensitive Labelstock
Antitrust Litig., 226 F.R.D. 492, 498 (M.D. Pa. 2005) (denying motion to compel plaintiffs’ prices
and methods to determine prices of downstream products); In re Vitamins Antitrust Litig., 198
F.R.D. 296, 298-302 (D.D.C. 2000) (denying motion to compel documents regarding plaintiff’s
“use, manufacture, sale, marketing, distribution or supply of vitamins or vitamin-containing
products”; “downstream” discovery not relevant to direct purchasers’ antitrust claims and benefit
of such discovery outweighed by burden or expense to plaintiff of providing such discovery).

                                                   2
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 3 of 13 PageID #:35410




Accordingly, Plaintiffs object to the Notice insofar it seeks “downstream” discovery, as
“downstream” discovery is not relevant. Plaintiffs also object to the Notice because the preparation
needed to testify as to “downstream” topics is more burdensome and expensive than beneficial and
is not proportional to the needs of the case. This objection will be referred to as Plaintiffs’
“Downstream Objection.”

       7.     Plaintiffs object to the Notice to the extent it seeks information concerning products
other than Broilers. Such “other product” information is irrelevant, overly broad and unduly
burdensome to collect and testify to. This objection will hereinafter be referred to as Plaintiffs’
“Other Product Objection”.

        8.      Plaintiffs object to the Notice to the extent that its calls for, or purports to require,
Plaintiffs to do some act that is not required by the Federal Rules of Civil Procedure and/or the
Local Rules of the Court.

        9.      Plaintiffs object to the Notice because it defines “You,” “Your,” “Plaintiff” or
“Plaintiffs” to include entities separate and distinct from the Plaintiffs, including, for example,
assignors and representatives. The Plaintiffs cannot and need not testify on behalf of entities other
than themselves.

       10.     Plaintiffs object to the Notice to the extent that Defendants will seek testimony
beyond the subject matter of the Notice, as construed by Plaintiffs. Any such testimony should not
be considered as the testimony of Plaintiffs and will not be binding upon Plaintiffs.

         11.     Plaintiffs object to the Notice because many of the topics are more appropriately
addressed through reference to Plaintiffs’ transaction records and other documents produced in
this litigation, rather than through a deposition. Plaintiffs reserve the right to refer Defendants to
their transaction records and other documents at the time of deposition.

       12.     Each of the foregoing objections and limitations are incorporated into Plaintiffs’
responses to each of the topics below.

        13.     Plaintiffs’ responses to each topic herein as well as Plaintiffs’ subsequent testimony
are subject to the Agreed Confidentiality Order dated November 8, 2016 (Doc. No. 202).

        14.    Plaintiffs reserve the right to supplement this response and/or add other objections
if, based on Plaintiffs’ continued preparation for the deposition, Plaintiffs determine that such
additional objection is required.

       15.    Unless otherwise indicated, Plaintiffs will, subject to their objections and
reasonable availability of responsive information, provide testimony only for the time period of
January 1, 2007 through September 2, 2016 (“the Relevant Time Period”).




                                                   3
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 4 of 13 PageID #:35411




                          SPECIFIC REPONSES AND OBJECTIONS

        1.     Your decision-making regarding the purchase of Broilers during the Relevant
Period, including the selection of Broiler suppliers (including, but not limited to, integrators,
brokers or intermediaries), the negotiations for the purchase of Broilers, considerations regarding
pricing of Broilers, bids and/or offers received or solicited for the purchase of Broilers, and any
discounts, rebates or credits You received or solicited related to the purchase of Broilers.

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic on the grounds
that certain of the requested information is equally available to Defendants or is already in the
possession, custody, or control of Defendants. Plaintiffs further object because certain information
covered by this topic is evident from documents that will be produced by Plaintiffs, including their
transactional purchase data for Broilers.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchases,
purchasing processes and purchase related decision-making with respect to Broilers over the
Relevant Time Period.

       2.       Your decision-making regarding the sales of Broilers during the Relevant Period,
including the selection of Broiler customers and the factors taken into account in pricing of
Broilers, including any discounts, rebates or credits You offered related to the sale of Broilers.

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic on the basis of
their Downstream Objection.

       3.      Your policies, practices, or procedures for purchasing, ordering, or inventorying
Broilers.

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this

                                                  4
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 5 of 13 PageID #:35412




case nor proportional to the needs of the case. Plaintiffs further object to this topic on the grounds
that certain of the requested information is equally available to Defendants or is already in the
possession, custody, or control of Defendants. Plaintiffs further object to this topic on the basis of
their Downstream Objection.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchasing
processes and practices with respect to Broilers over the Relevant Time Period.


        4.     Your purchase of Broilers during the Relevant Period, including all financial terms
of the purchase, quantities, types, forms (fresh or frozen, raw or cooked, further processed), any
labeling claims (organic, NAE, NAIHM, Halal, Kosher), dates and location of purchase, and
whether purchase was pursuant to a contract or on the spot market.

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic on the grounds
that certain of the requested information is equally available to Defendants or is already in the
possession, custody, or control of Defendants. Plaintiffs further object because much of the
information covered by this topic is evident from documents that will be produced by Plaintiffs,
including their transactional purchase data for Broilers.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchases and
purchasing processes with respect to Broilers over the Relevant Time Period.


       5.      Your inventory levels of Broilers during the Relevant Period.

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic on the basis of
their Downstream Objection.


       6.     Your budgets, forecasts, projections or strategic plans with respect to Your
purchases of Broilers during the Relevant Period.

       RESPONSE:

                                                  5
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 6 of 13 PageID #:35413




        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their purchasing processes,
including, if applicable, budgeting, forecasting, projections and strategy, with respect to Broilers
over the Relevant Time Period.


        7.      Your monitoring, analysis, forecasts, or projections regarding chicken prices,
including the prices You pay for chicken or products containing chicken and prices at which You
sell chicken or products containing chicken.

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic on the basis of
their Downstream Objection.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchasing
processes for Broilers, including, if applicable, monitoring, analyses, forecasts, or projections over
the Relevant Time Period.


      8.     Any analyses, forecasts, or projections prepared by, for, or otherwise utilized by
You concerning market factors taken into account in purchasing or selling Broilers.

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic on the basis
of their Downstream Objection.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchasing
processes for Broilers, including, if applicable, the consideration of any market factors, over the
Relevant Time Period.




                                                  6
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 7 of 13 PageID #:35414




       9.      Your Communications with any other named Plaintiff or any putative class
member, whether directly or indirectly, concerning Broilers, Broiler markets, Broiler prices, any
supplier of Broilers, or concerning any allegations made in the Broiler Chicken Litigation or the
Complaint.

        RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case.

       10.    Your participation in trade associations or other industry organizations, including
buying cooperatives and share groups (including those hosted by the Food Marketing Institute, the
National Grocers Association, the National Restaurant Association, and any similar group) during
the Relevant Period.

        RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their membership in, if applicable,
any poultry specific trade associations over the Relevant Time Period.


       11.    Your use of Consulting, Indexing or Benchmarking Services from January 1, 2007
through February 28, 2017.

        RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to the use of indices, if applicable,
in the prices they paid for Broilers during the Relevant Time Period.


         12.    The interchangeability/substitutability among proteins (e.g., chicken, beef, pork,
fish), including but not limited to Your purchases of non-chicken proteins (e.g., beef, pork, fish)

                                                   7
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 8 of 13 PageID #:35415




in response to changes in the price, supply or demand of chicken, and Your purchase of chicken
in response to changes in the prices, supply or demand of non-chicken proteins (e.g., beef, prof,
fish).

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic on the bases of
their Downstream and Other Product Objections.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchasing
processes for Broilers over the Relevant Time Period, including, if applicable, the consideration
of any substitutability among proteins as part of their purchasing analyses.


       13.    The purchase data or other transactional data that You have produced in the Broiler
Chicken Litigation, including but not limited to its completeness, the meaning of all terms and
abbreviations contained therein, and the extent to which such data contains the information
requested in Defendants’ Request for Production.

       RESPONSE:

      Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to generally explain the transactional purchase data for
Broilers that they will produce in response to Defendants’ Requests for Production.


       14.     Your knowledge of industry wide production of Broilers or the production of any
individual defendant.

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic because the
phrase “knowledge of industry wide production of Broilers or the production of any individual
defendant” is vague and ambiguous as used in the topic.




                                                  8
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 9 of 13 PageID #:35416




        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchasing
processes for Broilers, including, if applicable, the consideration of production levels, over the
Relevant Time Period.


       15.     Your knowledge of feed costs associated with raising Broilers.

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic because the
phrase “knowledge of feed costs associated with raising Broilers” is vague and ambiguous as used
in the topic.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchasing
processes for Broilers, including, if applicable, any consideration of feed costs, over the Relevant
Time Period.


       16.     Your knowledge of average prices for Broilers.

       RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic because the
phrase “average prices for Broilers” is vague and ambiguous as used in the topic. Plaintiffs further
object to this topic on the basis of their Downstream Objection.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchasing
processes and purchases of Broilers over the Relevant Time Period, including, if applicable, any
consideration of “average prices” as part of their purchasing analyses.

      17.  Your access to information relating to Broiler production and pricing, such as
NASS, USDA, Urner Barry, EMI and Georgia Dock.

       RESPONSE:

      Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic

                                                  9
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 10 of 13 PageID #:35417




on the ground that it calls testimony that is neither relevant to any claim or defense at issue in this
case nor proportional to the needs of the case. Plaintiffs further object to this topic on the basis of
their Downstream Objection.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchasing
processes and purchases of Broilers, including, if applicable, the use of indices in the prices they
paid for Broilers, over the Relevant Time Period.


        18.     Your knowledge of, analysis of, purchasing activity, and decision-making
regarding chicken raised for meat consumption – regardless of whether it is included in or excluded
from the definition of Broilers – with different attributes that potentially distinguish the product,
including but not limited to the following attributes: (1) antibiotic free or ABF, (2) no antibiotic
ever or NAE, (3) no antibiotics intended for human medicine or NAIHM, (4) organic, (5) free-
range, (6) Kosher, (7) Halal, (8) all-vegetarian fed, (9) yellow birds, and (10) size, such as big
birds, small birds, and other variations for use in specific applications, including but not limited to
deli WOGs, tray pack, or further processing. This request includes, but is not limited to, any
specific attributes identified by You or Your customers in advertising or other sales or purchasing
activity.

        RESPONSE:

         Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls for testimony that is neither relevant to any claim or defense at issue in
this case nor proportional to the needs of the case. Plaintiffs further object to this topic on the bases
of their Downstream and Other Product Objections. Plaintiffs further objects to the topic because
it is vague and ambiguous.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify generally to their respective purchases,
purchasing processes and purchase related decision-making with respect to Broilers over the
Relevant Time Period.


        19.     Your Communications with third parties regarding the Broiler Chicken Litigation.

        RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls for testimony that is neither relevant to any claim or defense at issue in
this case nor proportional to the needs of the case. Plaintiffs further object to the topic insofar as it
seeks testimony protected by a Privilege.



                                                   10
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 11 of 13 PageID #:35418




        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify to the general nature of any non-privileged
communications they have had with third parties concerning their material allegations against
Defendants in this litigation.


       20.     Your alleged damages claimed as a result of the conduct alleged in the Complaint,
including calculations of the total amount of damages allegedly suffered by You and how such
damages were calculated.

        RESPONSE:

        Plaintiffs object to this topic on the grounds that it is overbroad and unduly burdensome
and more burdensome than beneficial under the circumstances. Plaintiffs further object to this topic
on the ground that it calls for testimony that is neither relevant to any claim or defense at issue in
this case nor proportional to the needs of the case. Plaintiffs further object to the topic insofar as it
seeks expert testimony or information protected by a Privilege.

        Subject to and without waiving these and Plaintiffs’ general objections, each of the
Plaintiffs will designate a 30(b)(6) witness to testify to the factual bases of their respective damage
claims in this case.


Dated: November 29, 2018                                Respectfully submitted,

                                                        By: /s/ Eric R. Lifvendahl

                                                        Eric R. Lifvendahl
                                                        Williams Montgomery & John Ltd.
                                                        233 South Wacker Drive, Suite 6800
                                                        Chicago, Illinois 60606
                                                        Tel: (312) 443-3230
                                                        erl@willmont.com

                                                        Robert N. Kaplan
                                                        Matthew P. McCahill
                                                        Kaplan Fox & Kilsheimer LLP
                                                        850 Third Avenue, 14th Floor
                                                        New York, New York 10022
                                                        Tel: (212) 687-1980
                                                        rkaplan@kaplanfox.com
                                                        mmccahill@kaplanfox.com

                                                        Solomon B. Cera
                                                        Cera LLP
                                                        595 Market Street, Suite 1350

                                                   11
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 12 of 13 PageID #:35419




                                            San Francisco, California 94105
                                            Tel: (415) 777-2230
                                            scera@cerallp.com

                                            Charles A. Dirksen
                                            Cera LLP
                                            800 Boylston Street, 16th Floor
                                            Boston, Massachusetts 02129
                                            Tel: (857) 453-6555
                                            cdirksen@cerallp.com

                                            Richard L. Coffman
                                            The Coffman Law Firm
                                            505 Orleans Street, Suite 505
                                            Beaumont, Texas 77701
                                            Tel: (409) 833-7700
                                            rcoffman@coffmanlawfirm.com

                                            Manton M. Grier
                                            Elizabeth H. Black
                                            Mary C. Eldridge
                                            Haynsworth Sinkler Boyd, PA
                                            1201 Main Street, 22nd Floor
                                            Columbia, South Carolina 29201
                                            Tel: (803) 779-3080
                                            mgrier@hsblawfirm.com
                                            eblack@hsblawfirm.com
                                            meldridge@hsblawfirm.com

                                            Johnny K. Merritt
                                            Hajjar Peters, LLP
                                            3144 Bee Cave Road
                                            Austin, Texas 78746
                                            Tel: (512) 637-4956
                                            jmerritt@legalstrategy.com

                                            Counsel for Direct Action Plaintiffs: Action
                                            Meat Distributors, Inc. Affiliated Foods,
                                            Inc., Alex Lee, Inc./Merchants Distributors,
                                            LLC Associated Food Stores, Inc.,
                                            Associated Grocers of New England, Inc.,
                                            Bashas’ Inc., Big Y Foods, Inc., Certco, Inc.,
                                            Fareway Stores, Inc., Howard Samuels as
                                            Trustee in Bankruptcy for Central Grocers,
                                            Inc., CBBC OPCO, LLC, d/b/a Colorado
                                            Boxed Beef and King Solomon Foods, Inc.,

                                       12
Case: 1:16-cv-08637 Document #: 1433 Filed: 11/29/18 Page 13 of 13 PageID #:35420




                                                    Ira Higdon Grocery Company, Inc.,
                                                    Nicholas & Co., Inc., Pacific Agri-Products,
                                                    Inc., Pacific Food Distributors, Inc., Piggy
                                                    Wiggly Alabama Distributing Co., Inc.,
                                                    Troyer Foods, Inc., URM Stores, Inc., W.
                                                    Lee Flowers & Co., Inc., Weinstein
                                                    Wholesale Meats, Inc., Woodman’s Food
                                                    Market, Inc.



                                CERTIFICATE OF SERVICE

       I hereby certify that on November 29, 2018, I served a true and correct copy of the
foregoing document on counsel for Defendants.



                                                    By:    /s/ Eric. R. Lifvendahl




                                               13
